Case 3:06-cr-30026-RGJ-KLH   Document 102   Filed 01/09/08   Page 1 of 6 PageID #:
                                     422
Case 3:06-cr-30026-RGJ-KLH   Document 102   Filed 01/09/08   Page 2 of 6 PageID #:
                                     423
Case 3:06-cr-30026-RGJ-KLH   Document 102   Filed 01/09/08   Page 3 of 6 PageID #:
                                     424
Case 3:06-cr-30026-RGJ-KLH   Document 102   Filed 01/09/08   Page 4 of 6 PageID #:
                                     425
Case 3:06-cr-30026-RGJ-KLH   Document 102   Filed 01/09/08   Page 5 of 6 PageID #:
                                     426
Case 3:06-cr-30026-RGJ-KLH   Document 102   Filed 01/09/08   Page 6 of 6 PageID #:
                                     427
